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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 WHIRLPOOL PROPERTIES, INC.,
 WHIRLPOOL CORPORATION,
 MAYTAG PROPERTIES, LLC,                                Civil Action No. 2:20-CV-00042-JRG

 Plaintiffs,

 v.

 ASSCON INTERNATIONAL COMPANY
 LIMITED LLC

 Defendant.


STATE OF TEXAS:
TO EACH SHERIFF OF THE STATE

                                  WRIT OF GARNISHMENT


YOU ARE COMMANDED to summon the Garnishee, PAYPAL, INC. (“PayPal”), 2211
NORTH FIRST STREET, SAN JOSE, CA 95131, and its related companies and affiliates, to
serve an answer to this writ on Gillam & Smith, LLP, Counsel for Plaintiffs, 303 S. Washington
Avenue, Marshall, Texas 75670, at or before 10 o’clock a.m. on the Monday next following the
expiration of twenty (20) days from the date of service of this writ on Garnishee, and to file the
original with the Clerk of this Court either before service on the attorney or immediately thereafter,
stating whether the Garnishee is indebted to Asscon International Company Limited LLC
(“Asscon”), and the accounts and email addresses as also identified on Schedule “A” hereto whom,
upon information and belief, are employed by Garnishee, at the time of the answer or were indebted
at the time of service of the writ, or at any time between such times, and in what sum and what
tangible and intangible personal property of Defendant the Garnishee is in possession or control
of at the time of the answer or had at the time of service of this writ, or at any time between such
times, and whether the Garnishee knows of any other person indebted to Defendant or who may
be in possession or control of any of the property of Defendant. The amount set in Plaintiffs’
Motion is $1,075,778.87 against Defendant.

Dated on ____________________ __, 2021

                                                      By: _____________________________
                                                                 as Deputy Clerk
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                          SCHEDULE “A”
             SUBJECT DOMAIN NAME AND PAYPAL ACCOUNT

                   Subject Domain           PayPal Account
                         Name
                 Clatterans.com       info@clatterans.com
                 Clatteransonline.com gsslxxrp@limei-trading.com
